          Case 1:19-cr-10081-IT Document 350 Filed 01/13/20 Page 1 of 1



                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                    )
            v.                      )   Criminal No. 19-CR-10081
                                    )
GORDON ERNST, et al.,               )
                                    )
                  Defendants.       )
____________________________________)

        ASSENTED-TO MOTION FOR LEAVE TO FILE EX PARTE AND
                          UNDER SEAL

       Defendant Dr. Donna Heinel hereby moves for leave to file ex parte and under seal a

Motion for Rule 17(c) Pre-Trial Subpoena Directed to the Key Worldwide Foundation. This

motion discloses defense strategy and the subpoena returns will likely yield protected and

confidential information. (Dkt. No. 165.)

Dated: January 13, 2020                     Respectfully submitted,



                                                /s/ Nina Marino__________   ____
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-participants on January 13, 2020.


                                               /s/ Nina Marino___
                                              NINA MARINO
